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MULLIN HOARD & BROWN, L.L.P.
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Counsel for Debtors, Reagor-Dykes
Motors, LP; Reagor-Dykes Imports, LP;
Reagor-Dykes Amarillo, LP; Reagor-Dykes
Auto Company, LP; Reagor-Dykes
 Plainview, LP; Reagor-Dykes Floydada, LP

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                    LUBBOCK DIVISION

IN RE:                                                        §
                                                              §
REAGOR-DYKES MOTORS, LP                                       §   Case No. 18-50214-rlj11
         Debtor.                                              §
IN RE:                                                        §
                                                              §   Case No. 18-50215-rlj11
REAGOR-DYKES IMPORTS, LP                                      §   (Jointly Administered Under
         Debtor.                                              §
                                                                   Case No. 18-50214)
IN RE:                                                        §
                                                              §    Case No. 18-50216-rlj11
REAGOR-DYKES AMARILLO, LP                                     §   (Jointly Administered Under
         Debtor.                                              §
                                                                   Case No. 18-50214)
IN RE:                                                        §
                                                              §    Case No. 18-50216-rlj11
REAGOR-DYKES AUTO COMPANY, LP                                 §   (Jointly Administered Under
         Debtor.                                              §
                                                                   Case No. 18-50214)
IN RE:                                                        §
                                                              §   Case No. 18-50218-rjl11
REAGOR-DYKES PLAINVIEW, LP                                    §   (Jointly Administered Under
         Debtor.                                              §
                                                                  Case No. 18-50214)
IN RE:                                                        §
                                                              §   Case No. 18-50219-rlj11
REAGOR-DYKES FLOYDADA, LP                                     §   (Jointly Administered Under
         Debtor.                                              §
                                                                  Case No. 18-50214)

         SECOND AMENDED WITNESS AND EXHIBIT LIST OF DEBTORS FOR
                 HEARINGS SCHEDULED FOR AUGUST 16, 2018

Second Amended Witness & Exhibit List for August 16th Hrgs.
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          NOW COME, Reagor-Dykes Motors, LP, Reagor-Dykes Imports, LP, Reagor-Dykes

Amarillo, LP, Reagor-Dykes Auto Company, LP, Reagor-Dykes Plainview, LP, and Reagor-

Dykes Floydada, LP (each a “Debtor,” and collectively, the “Debtors”), the Debtors in the

above-referenced bankruptcy proceedings, and files this Second Amended Witness & Exhibit

List For Hearing Scheduled for August 16, 2018.

                                                WITNESSES

          Debtors disclose that they may call the following individuals to provide testimony:

          1.        Timothy Conner, CPA, Accounting Manager
          2.        Brad Fansler, Administration Director
          3.        Lyndon James, Senior Partner, BlackBriar Advisors, LLC
          4.        Bob Schleizer, Managing Partner, BlackBriar Advisors, LLC
          5.        Bart Reagor, Owner
          6.        Rick Dykes, Owner
          7.        Steve Reinhart, Legal/Compliance Director, Facilities Director, New Construction
                    Manager
          8.        Kerry Hernandez, Human Resources
          9.        Patrick Rielly, Lane, Corman, Trubitt, CPA
          10.       Gary Byrd, Jr., Dallas Regional Manager, Ford Motor Credit Company (live or by
                    deposition testimony)

          Debtors reserve the right to amend this Witness List and to call other witnesses as may be

necessary for rebuttal or impeachment purposes. Debtors also reserve the right to call any

witnesses designated or called by any other party to these proceedings.

                                                 EXHIBITS

          Debtors disclose that they may introduce the following exhibits:

TAB                                                DESCRIPTION

1.        Cash flow Projections (A 30-day sources and uses of funds budget for the RDAG locations
          financed by FMCC)

2.        Copies of existing insurance policies for vehicles, furniture, fixtures and equipment, etc.




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TAB                                                DESCRIPTION

3.        A listing of all vehicles in inventory across the RDAG and an analysis of which lender
          holds the lien against each vehicle along with vehicles involving contested liens

4.        A listing of vehicles that have not been floor planned, but may be subject to a floor-plan
          lender's lien against all inventory

5.        A listing of unpaid contracts in transit that reflect the name of the customer, the name of the
          lienholder to be paid-off and the amount of the pay-off

6.        Email from Gwen Schmucker dated June 29, 2018 forwarding June 28, 2018 Group Audit
          Summary from Ford Motor Credit

7.        Chart of SOT’s for last eight (8) audits

8.        Copy of Registration Data Report (RDR) – Audit from Trigger Reporting Enhancement.

9.        Listing of customers and amounts owing for tax titles and license.

10.       Listing of payoffs on trade-ins

11.       FMCC Audit 6/28/19 Summary

12.       Liquidity Schedule

13.       a. Reagor-Dykes Deficit Analysis
          b. Reagor-Dykes Vehicle Receivables
          c. Reagor-Dykes Touched Unfloored Inventory

          Debtors reserve the right to amend this Exhibit List in order to supplement the list of

documents that may be introduced. Debtors also reserve the right to introduce other exhibits as

may be necessary for impeachment purposes. Debtors also reserve the right to introduce exhibits

designated by any other party to these proceedings.

                                                   Respectfully Submitted,

                                                   MULLIN HOARD & BROWN, L.L.P.
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                                                    Facsimile: (806) 765-0553

                                                    _/s/ David R. Langston________________
                                                    David R. Langston, SBN: 11923800
                                                    Brad W. Odell, SBN: 24065839
                                                    Counsel for Debtors, Reagor-Dykes
                                                    Motors, LP; Reagor-Dykes Imports, LP;
                                                    Reagor-Dykes Amarillo, LP; Reagor-Dykes
                                                    Auto Company, LP; Reagor-Dykes
                                                    Plainview, LP; Reagor-Dykes Floydada, LP

                                           CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing Amended Witness and Exhibit List
was served on the following parties in interest via ECF and or email on this 16th day of August
2018:

          1.        Reagor Dykes Auto Group
                    1215 Ave. J
                    Lubbock, Texas 79401

          2.        Keith Langley and Brandon K. Bains
                    Langley LLP
                    1301 Solana Blvd.
                    Bldg. 1, Suite 1545
                    Westlake, Tx. 76262
                    Email: klangley@l-llp.com
                    Email: bbains@l-llp.com
                    Attorneys for Ford Motor Credit

          3.        United States Trustee
                    Attn: Stephen McKit
                    1100 Commerce Street, Room 976
                    Dallas, TX 75242
                    U.S. Trustee

          4.        Jason Rudd
                    Wick Phillips Gould & Martin, LLP
                    3131 McKinney Ave., Suite 100
                    Dallas, TX 75204
                    Attorneys for Vista Bank

          5.        Tommy Swann
                    McCleskey, Harriger Brazill & Graf, LLP
                    5010 University Ave., 5th Fl.
                    Lubbock, TX 79413
                    Email: tswann@mhbg.com

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                    Attorneys for Universal Underwriters Service Corp.

          6.        John Massouh
                    Sprouse Shrader Smith, PLLC
                    701 S. Taylor, Suite 500
                    Amarillo, Tx. 79101
                    Email: john.massouh@sprouselaw.com
                    Attorneys for First Capital Bank of Texas

          7.        All parties receiving notice via ECF in this case.

                                                          /s/ David R. Langston_________
                                                          David R. Langston




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